Case 2:19-cv-00776-GEKP Document1 Filed 02/22/19 Page 1 of 24

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ELIE LOUIS-BENJAMIN, JR.
3959 Welsh Road, Apt. 145 :
Willow Grove, PA 19090 : CIVIL ACTION

Plaintiff, : No.
ve :

RITECHOICE FAMILY SERVICES, INC. :
d/b/a RITECHOICE : JURY TRIAL DEMANDED
7248 Elmwood Avenue :
Philadelphia, PA 19142
and
MICHAEL MADU
7248 Elmwood Avenue
Philadelphia, PA 19142

Defendants.

 

CIVIL ACTION COMPLAINT
Plaintiff, by and through his undersigned counsel, hereby avers as follows:
I. INTRODUCTION

l. This action has been initiated by Elie Benjamin (hereinafter referred to as
“Plaintiff,” unless indicated otherwise) for violations of the Fair Labor Standards Act ("FLSA" -
29 U.S.C. 201, et. seq.) and applicable state law(s). Plaintiff asserts herein that he was not paid
Wages or overtime compensation in accordance with applicable state and federal laws. As
outlined infra, he is owed well in excess of $100,000.00, exclusive of costs, legal fees, and other
damages.

II. JURISDICTION AND VENUE
2. This Court, in accordance with 28 U.S.C. 1331, has jurisdiction over Plaintiffs

claims because they arise under a federal law - the FLSA. There is supplemental jurisdiction over

 
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Plaintiff's state-law claims herein because they arise out of the same common nucleus of
operative facts as Plaintiff's federal claim(s) set forth in this lawsuit.

3. This Court may properly maintain personal jurisdiction over Defendants because
Defendants’ contacts with this state and this judicial district are sufficient for the exercise of
jurisdiction over Defendants to comply with traditional notions of fair play and substantial
justice, satisfying the standard set forth by the United States Supreme Court in International Shoe
Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

4, Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.
II. PARTIES
5. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
6. Plaintiff is an adult individual, with an address as set forth in the caption.

7. Defendant RiteChoice Family Services, Inc. (hereinafter “Defendant RCFS”
where referred to individually) is an entity incorporated in the Commonwealth of Pennsylvania
and engaging primarily in the business of providing in-home care for elderly or infirmed
individuals,

8. Michael Madu (hereinafter “Defendant Madu” where referred to individually) is
the President, owner, and primary high-level managing operator of Defendant RCFS.”

9. At all times relevant herein, Defendants acted by and through their agents,
servants and employees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

 

 
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IV. FACTUAL BACKGROUND

10. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

11. Plaintiff was hired by Defendant RCFS in or about mid-May of 2018. And in
total, Plaintiff was employed with Defendant for almost 1 year.

{2. Plaintiff was hired by RCFS, a home-care provider. And Plaintiff was also hired
by Defendant Madu, who ultimately oversaw Plaintiffs compensation, work performance, and
other terms and conditions of employment.

13. Defendant Madu was, and upon information and belief, remains she shareholder,
President and highest-level management employee of Defendant RCFS. Defendant Madu holds
hunself out publicly as: (a) the President and Chief Executive Officer of Defendant RCFS; (b)
the President of Chidenso Homes, LLC, a real-estate holding company; (c) having a Master of
Business Administration (MBA); and (d) being a Doctor of Business Administration (DBA).

14. Defendant Madu is not a neophyte to business operations, and thus the actions
described infra demonstrate further his knowing, intentional, and deceitful violations of local,
state and federal wage and overtime laws.

15. In particular, Defendant Madu hires varying levels of staff to work and provide
in-home care to third parties with whom he and Defendant RCFS contract. In furtherance of
Defendants’ business interests, Plaintiff was hired:

(A) As a nurse;
(B) To provide in-home care; and

(C) Plaintiff provided full-time care to a wheel-chair bound patient.

 

 
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16,

Defendant Madu collects very significant sums of money through his third-party

contracts, but he deliberately skims wages from his own employees, directs and participates

falsification of payroll, and cheats employees out of proper and legally required wages and

overtime compensation.

17.

Plaintiff was hired as an hourly employee at $33.00 per hour. Plaintiff was only

ever employed with Defendants during his approximate 1-year tenure as an hourly employee

(although his hourly rate was manipulated, discussed more below).

18.

is irrefutable:

The following examples and illustration of Defendants’ unlawful payroll scheme

(A)

(B)

(C)

(D)

(F)

(F)

(G)

Plaintiff worked at least 16 hours per day and 7 days per week (sometimes
more) throughout his employment;

Plaintiff was paid by Defendants on a bi-weekly basis (every 2 weeks), and
he worked at /east 224 hours per pay period;

Defendants never could or would dispute that Plaintiff averaged at least 112
hours per week of work because: (1) they scheduled Plaintiff: (2) they billed
for his work; and (3) they identified his worked hours on his payroll;

But Defendants instead concocted a scheme to avoid paying employees such
as Plaintiff proper overtime compensation that was mandated by state and
federal laws;

Attached hereto as “Exhibit A” by way of a 1-pay period example is
Plaintiff's July 6, 2018 payroll for the 2-week time period ending June 29,
2018;

Normally and universally, employees are given a single earnings statement
showing all hours worked, all compensation, and any overtime accrued. But
to avoid paying legally-mandated overtime, Plaintiff was given 3 separate
“Earning Statement[s]” each one reflecting his hourly rate. See “Exhibit A;”

Each Earming Statement was given to Plaintiff to avoid outside or
governmental detection of non-payment of overtime. Despite having worked
224 hours in a 2-week payroll timeframe, Plaintiff was given 3 separate pay
stubs wherein 2 of them showed 80-hour work weeks and 1 showed the
additional 64 hours /d.; and

 

 
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(H) As a result of Plaintiff being given 3 separate pay stubs / Earning Statements,
it appeared from looking at each one individually as if Plaintiff only worked
a maximum of 40 hours per week (unless all were combined for view and
context). Thus, Plaintiff was not paid at a rate of time and one half; and
instead, was only paid what is commonly referred to as straight time (his
same hourly rate despite working overtime).

19. While Plaintiff referenced his July 6, 2018 payroll in the preceding paragraph for
illustration purposes, Plaintiff was paid in the same unlawful manner during each of Plaintiff's
payroll periods throughout his employment.

20. However, in the months leading up to Plaintiff's separation from employment
which took place in mid-February, Plaintiff had been adamantly expressing concerns about
unpaid overtime compensation to his management and Defendants.!

21. Plaintiff was told point-blank by Defendants’ management Defendants do not pay
overtime compensation.

22. It was obvious even to unsophisticated management or ownership that an hourly
employee is supposed to receive time and one half of his hourly wage after 40 hours per week
(let alone Defendant Madu who represents having a doctor in business administration and being
a CEO multiple companies). Hence, Defendants’ intent to violate wage laws simply became even
more transparent when segregating hours into multiple pay statements for obvious overtime
avoidance.

23. Because Plaintiff had become more vocal in his concerns of overtime violations

leading up to his constructive discharge (discussed infra), Defendants made no effort to actually

 

‘ See Kasten v, Saint-Gobain Performance Plastics Corp., 563 U.S. 1, 17, 131 8. Ct. 1325, 1336 (201 1)}(verbal
complaints about overtime concerns are protected activities under the FLSA prohibiting retaliation).

 

 
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compensate Plaintiff properly but instead identified 8 hours of overtime in a pay stub during
Plaintiff's December 7, 2018 payroll issuance. In particular:

(A} “Exhibit B” is a compilation of Plaintiff's pay stubs / Earning Statements for
the payroll period ending November 30, 2018; and

(B) Despite that Plaintiff had worked in excess of a 100 hours of overtime in the
pay period, Defendants only identified that Plaintiff worked 8 hours of
overtime warranting $49.50 (his proper overtime payrate) in one of multiple
paystubs. Jd.

24. The purpose of the 8-hour indication of overtime worked in the December 7, 2018
payroll was ostensibly only to insulate Defendants from a future audit or third-party review by
claiming it paid some overtime (which might look normal if all separate pay statements were not
viewed collectively). It was however absurd, as the payment for overtime therein reflected
overtime compensation for less than 10% of actual overtime worked (within said payroll period).

25. Asa direct result of Plaintiff escalating overtime-related concerns to Defendants,
he was told his hourly rate was significantly and unilaterally cut. In Plaintiffs last payroll (for
payroll in January of 2019), he had learned that his hourly rate was retaliatorily cut from $33.00
per hour to $23.90 per hour without proper notice or consent. See January 2019 payroll, attached
hereto as “Exhibit C.” This constituted a pay reduction of approximately 28% of Plaintiff's
typically weekly or bi-weekly compensation.

26. Plaintiff resigned because of animosity, threats, and — most importantly — an

approximate 1/3 cut in his compensation by Defendants.” Plaintiff was forced to separate under

the foregoing circumstances, constituting constructive discharge.’

 

2 See e.g. Bartolon-Perez v. Island Granite & Stone, 108 F. Supp. 3d 1335, 1340 (S.D. Fla. 2015)constructive
discharge is actionable under the FLSA); Traweek v. Glob. Sols. & Logistics LLC, 2015 U.S. Dist. LEXIS 98098, at
*18 (N.D. Ala. 2015)(a substantial pay reduction constitutes a viable FLSA retaliation, constructive-discharge
claim); Yellez v. Primetals Techs. United States, LLC, 2018 U.S. Dist. LEXIS 188061, at *7 03 (D.S.C.
2018)\(denying motion to dismiss concerning defendant’s assertion for lack of evidence of FLSA constructive
discharge); Ford v. Affare, 785 F.2d 835, 841 (9th Cir. 1986)(a plaintiff may pursue an FLSA retaliatory discharge
claim, as this is the same protection under all similar employment statutes}

 
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27. Plaintiffs damages and entitlements because of Defendants’ forgoing actions are
as follows:

(1) Plaintiff worked at least 3,081 hours of overtime. He was only paid at a rate of
$33.00 per hour for each hour of overtime, which was his regular straight-time
rate. Plaintiff was not paid at his proper overtime rate of $49.50 per hour, and
he was therefore denied $16.50 per hour for every overtime hour worked.
Plaintiff is thus owed at least $50,836.50 in unpaid overtime compensation.

(2) The sum of owed overtime to Plaintiff, which totals $50,836.50, must be
automatically doubled for liquidated damages.* In total without other
consideration of interest or costs, Plaintiff is owed at least $101,673.00.

(3) Plaintiff had his wages retroactively reduced without consent, constituting a
violation of the Pennsylvania Wage and Collection Law(s), which also
permits liquidated damages (as to Plaintiffs last paycheck).

(4) And Plaintiff is entitled to all past or future lost wages, compensatory
damages, and punitive damages for his constructive discharge by Defendants.°

 

3 Penn, State Police v. Suders, 542 U.S. 129, 134 (2004)(stating that "an extreme cut in pay" can provide a basis for
alleging constructive discharge); Murtha v. Forest Elec. Corp., 1992 U.S. Dist. LEXIS 10476, at *10 (E.D. Pa.
1992)(refusing to vacate a jury verdict and explaining that pay or benefit reductions can constitute a constructive
discharge claim); Traweek v. Glob. Sols. & Logistics LLC, 2015 U.S. Dist. LEXIS 98098, at *18 (N.D. Ala. 2015)(a
substantial pay reduction constitutes a viable FLSA retaliation, constructive-discharge claim).

* See e.g. Solis v. Min Fang Yang, 345 Fed. Appx. 35 (6th Cir. 2009)(Affirming award of liquidated damages explaining
“under the Act, liquidated damages are compensation, not a penalty or punishment, and no special showing is necessary for
the awarding of such damages. Rather, they are considered the norm and have even been refetred to by this court as
mandatory."); Gaple v. Harry's Nurses Registry, inc, 594 Fed. Appx. 714, 718 (2d Cir. 2014\(Affirmimg award of
liquidated damages explaining there is an automatic "presumption" of liquidated damages and "double damages are the
norm, single damages the exception," as the burden to avoid liquidated damages is a "difficult burden."); Haro v. City of
Los Angeles, 745 F.3d 1249 Oth Cir. 2014 Affirming award of liquidated damages explaining they are the "norm" and
"mandatory" unless the employer can establish the very "difficult burden" of subjective and objective attempts at FLSA
compliance); Chao v. Barbeque Ventures, LLC, 547 F.3d 938, 942 (8th Cir. 2008)(Affirming award of liquidated damages
explaining that the employer mistakenly argues its non-compliance was not willful, misunderstanding the high burden to
show affirmative steps of attempted compliance and research of the FLSA and separately that its diligence and belief in
non-payment of overtime was also objectively reasonable.); Chao vy. Hotel Oasis, Inc, 493 F.3d 26 (lst Cir.
2007)(Affirming award of liquidated damages explaining that they will always be considered the "norm" in FLSA cases);
Lockwood v. Prince George's County, 2000 U.S. App. LEXIS 15302 (4th Cir. 2000)(Affirming award of liquidated
damages explaining they are the "norm" and that an employer may not take an ostrich-like approach and refuse to research
its obligations under the FLSA and to objectively explain why it failed to comply with the FLSA); Uphoffv. Elegant Bath,
Ltd, 176 F.3d 399 (7th Cir. 1999}(Reversing the district court for not awarding liquidated damages, as doubling unpaid
overtime is the rule, not an exception); Nere v. Industrial Molding Corp., 167 F.3d 921 (5th Cir. 1999)(A ffirming award of
liquidated damages, as there is a presumption of entitlement to liquidated damages which are the norm).

° See Jones v. Amerihealth Caritas, 95 F. Supp. 3d 807, 818 (E.D. Pa. 2015)(FLSA retaliation claims permit the
recovery of damages for emotional distress, punitive damages, and other economic losses).

 

 
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28. Defendant Madu oversaw business operations, was a high-level manager and
owner, condoned and perpetuated unlawful pay to employees through continued payroll
falsification schemes, and exercised full control over personnel and compensation. He is thus
also personally liable for such claims herein.®
Count I

Violations of the Fair Labor Standards Act ("FLSA")
(Failure to Pay Overtime)
- Against Both Defendants -

29. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

30. Plaintiff was not properly paid for all owed overtime as explained supra. And
such actions constitute indefensible violations of the Fair Labor Standards Act (“FLSA”).

Count I
Violations of the Fair Labor Standards Act ("FLSA")
(Retaliation)
- Against Both Defendants -

31. | The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

32, Plaintiff was constructively terminated due to animosity, threats, and a substantial
reduction in his compensation as a direct, actual and proximate cause of his complaints of

overtime violations.

33. Such actions as aforesaid constitute unlawful retaliation under the FLSA.

 

6 See eg. Haybarger v. Lawrence Cty. Adult Prob. & Parole, 667 F.3d 408, 414 (3d Cir. 2012)(managers and
corporate officers exercising control over wages are appropriate defendants under the FLSA and may be individually
liable for such violations).

 

 
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Count I
Violations of the Pennsylvania Minimum Wage Act (“PMWA”)
(Failure to Pay Overtime Compensation)
- Against Both Defendants -

34, The foregoing paragraphs are incorporated herein in their entirety as if set forth in
fuil.

35. Plaintiff was not properly paid for all owed overtime as explained supra. And
such actions constitute indefensible violations of the Pennsylvania Minimum Wage Act
CPMWA”).

Count IV
Violations of the Pennsylvania Wage & Collection Law(s)
(Failure to Pay Full Wage(s) Owed)
- Against Both Defendants -

36. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

37. Defendants unilaterally reduced Plaintiff's hourly rate in the midst of him
performing work without adequate notice, a defined rate agreed upon, and unilaterally without
Plaintiff's consent. Plaintiff was thus not properly paid his hourly rate as assured, previously
agreed upon, and contractually owed in his last payroll check.

38. These actions as aforesaid constitute indefensible violations of the Pennsylvania
Wage and Collection Law(s).

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to promulgate and adhere to a policy prohibiting wage and
overtime and wage violations;

B. Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

 

 

 

 
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Defendants’ wrongful actions, including but not limited to all owed wages, overtime, and other
applicable compensation;

C. Plaintiff is to be awarded actual damages to which he legally entitled beyond
those already specified herein;

D. Plaintiff is to be awarded liquidated and/or punitive damages as permitted by
applicable law;

E. Plaintiff is to be accorded other equitable relief as the Court deems just, proper,
and appropriate (including but not limited to emotional distress or other such damages);

F, Plaintiff is to be awarded the costs and expenses of this action and a reasonable
attorney’s fees if permitted by applicable law; and

G. Plaintiff is permitted to have a trial by jury.

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

. # “ss

   

 

Ari R. Karpf, Esquire

3331 Street Road

Building 2, Suite 128

Bensalem, PA 19020

(215) 639-0801
Dated: February 22, 2019

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Exhibit A

 
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Company Code Loc/Dept Number Page
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RiteChoice

7248 EimwoodAve

Philadelphia,PA 1942

Taxable Marital Status: Single

Exemptions/Allawances: Tax Override:
Federal: 3 Federal:
Stale: 0 State:
Local: 0 Local:

Social Security Number: XXK-XX-XXXX

    

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Period Ending: 06/29/2018
Pay Date: 07/06/2018

Elie J Benjamin
3959 Welsh Road Aptt45
Willow Grove, PA 19090

 

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RK / 7RF 21724155 «(Ot 4579724 1of 1 Earnings Statement

RiteChoice |
7248 Elmwood Ave Period Starting: 06/16/2018
Philadelphia,PA 19142 Period Ending: 06/29/2018

Pay Date: 07/06/2018

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Taxable Marital Status: Single ; |

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Local: 0 Local: Willow Grove, PA 19090

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Exhibit B

 
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i HI Period Ending: 11/30/2018
Philadelphia, PA 19142 Pay Date: 42/07/2018
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7248 Elmwood Ave .
Philadelphia, PA 19142 Pay Date: 12/07/2018

 
 
  

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Elie J Benjamin
3959 Welsh Road Apti45
Willow Grove, PA 19090

  

 

 

 
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7248 Eimwoad Ave
Philadelphia, PA 19142

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Social Security Number: XXX-KK-KKKK

 

 

 

 

 

 

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Voluntary Deductions this period year to date
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*Misc reimbursement 0.00 2284.41
Net Pay $1,976.18
RiteChoice
7248 Elrmwood Ave

Philadelphia, PA 19142

Deposited to the account

 

Checking DirectDeposit

 

Elie J Benjamin
3959 Welsh Road Apt145
Willow Grove, PA 19090

Earnings Statement

Period Starting: 11/47/2018
Period Ending: 11/30/2018
Pay Date: 12/07/2018

Elie J Benjamin
3959 Welsh Road Apt145
Willow Grove, PA 18090

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Other Benefits and
Information this period year to date
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Your federal taxable wages this period are $2,640,00

* Excluded from Federal taxable wages

Pay Date: 12/07/2018
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Company Code Loc/Dept
RK/ RF 21724155 «(OT
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7248 Elmwood Ave
Philadelphia, PA 19142

Number Pag
5023099 1 of 1

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Taxable Marital Status: Single
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Local: 0 Local:
Social Security Number: XAKRKRKKK
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Gross Pay $2,640.00 $117,612.00
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7248 Elmwood Ave

Philadelphia, PA 19142

Deposited to the account
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Elie J Benjamin
3959 Welsh Road Apti45
Willow Grove, PA 19090

 

Earnings Statement

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Period Starting: 14/17/2018
Period Ending: 11/30/2018
Pay Date: 12/07/2018

Elie J Benjamin
3959 Welsh Road Apt145
Willow Grove, PA 19090

 

 

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Philadelphia, PA 19142 Pay Date: 42/07/2018 |
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Taxable Marital Status: Single
Exemptions/Atowances: Tax Override: Elie J Benjamin |
Federal: |:
Sut 8 eee 3959 Welsh Road Apt145 |
Local: 0 Local: Willow Grove, PA 19090
Social Security Number: XXX XKKK
Earnings rate hours/units this period year to date Other Benefits and ; ;
Reguiar 33.0000 80.00 2640.00 117216 .00 information this period year (o date
Overtime 49.5000 8.06 396,00 396.00 Tetal Hours Worked 88.00 3560.00 i
Gross Pay $3,036.00 $117,612.00
Deposits
account number transiffABA amount |
Statutory Deductions this period year to date XXXKXK7932 XXXXKOKK 228.68 i
Federal Income ~375 .09 12259.61 , |
Social Security ~188.23 7291.94 \
Medicare -44.02 1705.37 !
Pennsylvania State Income 793,21 3610.78 |
Pennsylvania State Ul -1.82 70.57 i
Phila NR Local Income -104,95 4068 .48 i
Voluntary Deductions this period year to date |
Advance 0.00 4728.00 |
b
Net Pay Adjustments this period year to date [
“Misc reimbursement 0.00 2284.41
Net Pay $2,228.68
Your federal taxable wages this period are $3,036.00 :
* Excluded fram Federal taxable wages i
RiteChoice
7248 Elmwood Ave .
Philadelphia, PA 19142 Pay Date: 12/07/2018

   

a
: transiffABA amount {
XXXXKXXKK 2228.68

Deposited to the account
Checking DirectDeposit

    

 

Flie J Benjamin
3959 Welsh Road Apt145
Willow Grove, PA 19090
Case 2:19-cv-00776-GEKP Document1 Filed 02/22/19 Page 20 of 24

Exhibit C

 

 
  

FReguiar
Overtime
Bonus

Case 2:19-cv-00776-GEKP Document1 Filed 02/22/19 Page 21 of 24

 

01365
Company Code Loc/Dept Number Page
RK / 7RF 21724155 9 01/ §222807 1 of 1
RiteChoice
7248 ElmwoodAve
Philadelphia,PA 19142
Taxable Marital Status: Single
Exemptions/Aflowances: Tax Override:
Federal: 3 Federal:
State: o State:
Lacal; 0 Local:
Social Security Number: XXX-XX-XXKXK

   
  
   
  
  
 
 
  
   

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Earnings Statement AD?
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Period Starting: 01/26/2019

Period Ending: 02/08/2019

Pay Date: 02/15/2019

Elie J Benjamin
3959 Welsh Road Apt145
Willow Grove, PA 19090

Other Benefits and -
Information |

“Total Hours Worked

     

 

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Case 2:19-cv-00776-GEKP Document1 Filed 02/22/19 Page 22 of 24

IN THE UNITED STATES DISTRICT COURT
_FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CA Tr

Elie Louis-Benjamin, Jr. ; CIVIL ACTION
™,.
Ritechoice Family Services, Inc. d/b/a Ritchoice, et al. ‘ ‘ , NO

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy onall defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff rogarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. (3

(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ()

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2, ()

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ()}

(e) Special Management — Cases that do not fall into tracks (a} through (d) that are

 

 

 

commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special

management cases.) . ' ()
(f) Standard Management — Cases that do not fall into any one of the other tracks. «)

2/22/2019 La Plaintiff

Date Attorney-at-law Attorney for
(215) 639-0801 (215) 639-4970 akarpi@karpf-law.com
Telephone FAX Number E-Mail Address

(Cly, G60) 10/02

 
Case 2:19-cv-00776-GEKP Document1 Filed 02/22/19 Page 23 of 24

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff; 3959 Welsh Road, Apt 145, Willow Grove, PA 19090
Address of Defendant: 7248 Elmwood Avenue, Philadelphia, PA 19142

Place of Accident, Incident or Transaction: Defendants place of business

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [] No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [] No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement ofa patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case [7] is / isnot related to any case now pending or within one year previously terminated action in
this court except as noted above.

ayer 2fOf20T9 nae 3 ARK2484 / 91538
_ Athortey-at-Law / Pro Se Plaintiff Attorney LD. # (ff applicable)

 

 

CIVIL: (Place a ¥ in one categury only)

 

 

 

 

 

A. Federal Question Cases: B, Diversity Jurisdiction Cases:
CJ 1. Indemnity Contract, Marine Contract, and All Other Contracts (0 31. Insurance Contract and Other Contracts
Cl 2. FELA L] 2. Airplane Personal Injury
CJ 3. Jones Act-Personal Injury (J 3. Assault, Defamation
CI 4. Antitrust LJ 4. Marine Personal Injury

5, Patent {] 5. Motor Vehicle Personal Injury
. 6. Labor-Management Relations LJ 6 Other Personal Injury (Please specify):
Cl] 7. Civil Rights C] 7. Products Liability
C1 8. Habeas Corpus 1 8. Products Liability -- Asbestos

9. Securities Act(s) Cases LI] 9. All other Diversity Cases
H 10. Social Security Review Cases (Please specifi):
C311. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect uf this certification is to remove the case from eligibility for arbitration.)

1, AiR. Karpt , counsel of record er pro se plaintiff, do hereby certify:

 

x | Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

  
 

 

ARK2484 / 91538

DATE: 2/22/2019
\utbrney-at-Law / Pro Se Plaintiff Attorney LD. # (ifapplicable)

NOTE: A trial de novo will bea triai by jury only if there has been compliance with F.R.C.P. 38.

 

 

Civ, 609 (5/2018)

|
[
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Case 2:19-cv-00776-GEKP Document1 Filed 02/22/19 Page 24 of 24
IS44 Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
LOUIS-BENJAMIN, JR,, ELIE RITECHOICE FAMILY SERVICES, INC, d/b/a RITECHOICE, et al.

 

(b) County of Residence of First Listed Plaintiff Montgomery County of Residence of First Listed Defendant Philadelphia
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(C) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (Known)

Karpt, Karpf & Cerutti, P.C.; 3331 Street Road, Two Greenwood Square,
Suite 128, Bensalem, PA 19020; (215) 639-0801; akarpf@karpf-law.com

 

 

 

 

 
  

        

 
   

    

IL BASIS OF JURISDICTION (Place an “X" in One Box Only) IIE. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintif f
{For Diversity Cases Only) and One Box for Defendant)
i U.S. Goverrunent 3 Federal Question PTF DEF PTF DEF
Plainwff (C18. Government Not a Party) Citizen of This State 1 | Incorporated or Principal Place 4 4
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State 2 2 Incorporated and Principal Place 5 3
Defendant (indicate Citizenship of Parties in Hem fl) of Business In Another State
Citizen or Subject of a 3 3 Foreign Nation 6 6
Foreign Country
T¥. NATURE OF SUIT (Piace an . Click here for: Nature of Suit Code Descriptions
Re = — IRE a RANE D PEERS
@ 110 Thsurance PERSONAL INJURY PERSONALINJURY [0 625 Drug Related Seizure ' 432 Appeal 28 USC 158 f 378-False Claims Act
O £20 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 |’ 423 Withdrawal "376 Qui Tam G1 USC
G 130 Miller Act” ‘315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrmnent Liability 0 367 Health Care/ 0 400 State Reapportionment
0 150Recovery afOverpayment |' 320 Assautt, Libel & Pharmaceutical PROPERTY RiGdH (1 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
O 151 Medicare Act 330 Federa] Employers’ Product Liability 0 830 Patent 1 450 Commerce
f 152 Recovery of Defaulted Liability 0 368 Asbestos Personal 0 835 Patent - Abbreviated 0 460 Deportation
Student Loans "340 Marine Injury Product : New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) "345 Marine Product Liability 840 Trademark , Corrupt Organizations
CQ 153 Recovery of Overpayment Liability PERSONAL PROPERTY soured : 40 480 Consumer Credit
of Veteran's Benefits * 950 Motor Vehicle 0 370 Other Fraud K 710 Fair Li 0 490 Cable/Sat TV
G 166 Stockholders’ Suits * 355 Motor Vehicle 371 Truth in Lending Act 0 862 Black Lung (923) 0 850 Securities/Commadities/
0 190 Other Contract Product Liability 1 380 Other Personal 0 720 Labor/Management * 863 DIWC/DIWW (405(g)) Exchange
0 195 Contract Product Liability |’ 360 Other Personal Property Damage Relations QO 864 SSID Title XVI f 890 Other Statutory Actions
0 196 Franchise Injury O 385 Property Damage 0 740 Railway Labor Act " 865 RSI (405(2)} G 891 Agricultural Acts
"362 Personal Injury - Product Liability " 731] Family and Medical 0 893 Environmental Matters
Medical Malpractice Leave Act O 895 Freedom of Information

   
   
 

  

    
          

 

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

ye MERIGH 0 790 Other Labor Litigation EDERAL TAS Act
0 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement 0 870 Taxes (U.S. Plaintiff 0 896 Arbitration
O 220 Foreclosure O 44] Voting O 463 Alien Detainee income Seourity. Act or Defendant) 0 899 Administrative Procedure
O 230 Rent Lease & Ejectment G 442 Employment 0 510 Motions to Vacate 0 871 IRS-Third Party Act/Review or Appeal of
8 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations 1 530 General 0 950 Constitutionality of
0 290 All Other Real Property 0 445 Amer. w/Disabilities- | 535 Death Penalty E AGRA TION : State Statutes
Employment Other: 0 462 Naturalization Application
O 446 Amer. w/Disabilities- | 540 Mandamus & Other {1 46% Other Immigration
Other O $54 Civil Rights Astions
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x) Original 0 2 Removed from 0 3  Remanded from 0 4 Reinstatedor ' 5 Transferred from 0 6 Multidistrict 0 & Multidistriet
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
: (specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):
VL CAUSE OF ACTION ELSA (20USC201)
. Brief description of cause: .
Violations of the FLSA and applicable state law({s).
VII, REQUESTED IN 0 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: XYes ’"No
VII. RELATED CASE(S)
fSee instructions):
IF ANY JUDGE DOCKET NUMBER
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FOR OFFICE USE ONLY _ L/

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

   

 
